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                                 EXHIBIT C
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U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                               Trademark/Service Mark Application, Principal Register
                                                                                                         Serial Number: 99005577
                                                                                                         Filing Date: 01/17/2025


                                                                               The table below presents the data as entered.

                                                             Input Field                                                                                        Entered
              SERIAL NUMBER                                                                                                        99005577
              MARK INFORMATION
              *MARK                                                                                                                Justiceville
              STANDARD CHARACTERS                                                                                                  YES
              USPTO-GENERATED IMAGE                                                                                                YES
              LITERAL ELEMENT                                                                                                      Justiceville
                                                                                                                                   The mark consists of standard characters, without claim to any
              MARK STATEMENT
                                                                                                                                   particular font style, size, or color.
              REGISTER                                                                                                             Principal
              APPLICANT INFORMATION
              *OWNER OF MARK                                                                                                       Croskey Law, PLLC
              *MAILING ADDRESS                                                                                                     1644 Blanding Boulevard
              *CITY                                                                                                                Jacksonville
              *STATE
                                                                                                                                   Florida
              (Required for U.S. applicants)

              *COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                                          United States
              *ZIP/POSTAL CODE
              (Required for U.S. and certain international addresses)
                                                                                                                                   32210

              PHONE                                                                                                                9049551977
              *EMAIL ADDRESS                                                                                                       XXXX
              LEGAL ENTITY INFORMATION
              TYPE                                                                                                                 Professional Limited Liability Company
              STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY
                                                                                                                                   Florida
              WHERE LEGALLY ORGANIZED

              GOODS AND/OR SERVICES AND BASIS INFORMATION
               INTERNATIONAL CLASS                                                                                                 045
              *IDENTIFICATION                                                                                                      Legal services.
              FILING BASIS                                                                                                         SECTION 1(a)
                     FIRST USE ANYWHERE DATE                                                                                       At least as early as 09/00/2024
                     FIRST USE IN COMMERCE DATE                                                                                    At least as early as 09/00/2024
                                                                                                                                   \\TICRS\EXPORT18\IMAGEOUT
                     SPECIMEN FILE NAME(S)
                                                                                                                                   18\990\055\99005577\xml1 \ APP0003.JPG
Case 3:25-cv-00491-MMH-MCR             Document 1-4      Filed 05/01/25           Page 3 of 13 PageID 19


                                                 \\TICRS\EXPORT18\IMAGEOUT
                                                 18\990\055\99005577\xml1 \ APP0004.JPG
                                                 \\TICRS\EXPORT18\IMAGEOUT
                                                 18\990\055\99005577\xml1 \ APP0005.JPG

                                                 \\TICRS\EXPORT18\IMAGEOUT
                                                 18\990\055\99005577\xml1 \ APP0006.JPG
                                                 \\TICRS\EXPORT18\IMAGEOUT
                                                 18\990\055\99005577\xml1 \ APP0007.JPG
                                                 \\TICRS\EXPORT18\IMAGEOUT
                                                 18\990\055\99005577\xml1 \ APP0008.JPG
                                                 Mixture of photographs and screenshots of the applied-for
  SPECIMEN DESCRIPTION                           mark used in commerce with respect to the applied-for
                                                 services.
   WEBPAGE URL                                   https://justicevillefl.com/
   WEBPAGE DATE OF ACCESS                        01/16/2025
   WEBPAGE URL                                   https://justicevillefl.com/the-firm/
   WEBPAGE DATE OF ACCESS                        01/16/2025
   WEBPAGE URL                                   https://www.instagram.com/p/DEfQa2YuEC9/
   WEBPAGE DATE OF ACCESS                        01/16/2025
ATTORNEY INFORMATION
NAME                                             Fernando A. Dutra
ATTORNEY DOCKET NUMBER                           CROL0001WM
ATTORNEY BAR MEMBERSHIP NUMBER                   XXX
YEAR OF ADMISSION                                XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY              XX
FIRM NAME                                        Wilson Dutra, PLLC
STREET                                           7643 Gate Parkway, Suite 10489
CITY                                             Jacksonville
STATE                                            Florida
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY       United States
ZIP/POSTAL CODE                                  32256
PHONE                                            904-955-1977
EMAIL ADDRESS                                    fdutra@wilsondutra.com
OTHER APPOINTED ATTORNEY                         All attorneys in the firm.
CORRESPONDENCE INFORMATION
NAME                                             Fernando A. Dutra
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE         fdutra@wilsondutra.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)    cwilson@wilsondutra.com; trademarks@wilsondutra.com
FEE INFORMATION
APPLICATION FILING OPTION                        TEAS Standard
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NUMBER OF CLASSES                                  1
APPLICATION FOR REGISTRATION PER CLASS             350
*TOTAL FEES DUE                                    350
*TOTAL FEES PAID                                   350
SIGNATURE INFORMATION
SIGNATURE                                          /Steven Croskey/
SIGNATORY'S NAME                                   Steven Croskey
SIGNATORY'S POSITION                               Managing Member
SIGNATORY'S PHONE NUMBER                           904-955-1977
DATE SIGNED                                        01/17/2025
SIGNATURE METHOD                                   Sent to third party for signature
            Case 3:25-cv-00491-MMH-MCR                                                              Document 1-4                               Filed 05/01/25   Page 5 of 13 PageID 21

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                                                                Trademark/Service Mark Application, Principal Register

                                                                                                         Serial Number: 99005577
                                                                                                         Filing Date: 01/17/2025
To the Commissioner for Trademarks:

MARK: Justiceville (Standard Characters, see mark)
The literal element of the mark consists of Justiceville. The mark consists of standard characters, without claim to any particular font style, size,
or color.
The applicant, Croskey Law, PLLC, a Professional Limited Liability Company legally organized under the laws of Florida, having an address of
    1644 Blanding Boulevard
    Jacksonville, Florida 32210
    United States
    9049551977(phone)
    XXXX

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

International Class 045: Legal services.

In International Class 045, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 09/00/2024, and first used in commerce at least as early as 09/00/2024, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Mixture of photographs and screenshots of the applied-for mark used in commerce with respect to the applied-
for services..
Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5
Specimen File6
Webpage URL: https://justicevillefl.com/
Webpage Date of Access: 01/16/2025
Webpage URL: https://justicevillefl.com/the-firm/
Webpage Date of Access: 01/16/2025
Webpage URL: https://www.instagram.com/p/DEfQa2YuEC9/
Webpage Date of Access: 01/16/2025



The owner's/holder's proposed attorney information: Fernando A. Dutra. Other appointed attorneys are All attorneys in the firm.. Fernando A.
Dutra of Wilson Dutra, PLLC, is a member of the XX bar, admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is located
at
    7643 Gate Parkway, Suite 10489
    Jacksonville, Florida 32256
    United States
    904-955-1977(phone)
    fdutra@wilsondutra.com
The docket/reference number is CROL0001WM.
Fernando A. Dutra submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court
of a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.
The applicant's current Correspondence Information:
    Fernando A. Dutra
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    PRIMARY EMAIL FOR CORRESPONDENCE: fdutra@wilsondutra.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): cwilson@wilsondutra.com; trademarks@wilsondutra.com


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $350 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /Steven Croskey/ Date: 01/17/2025
Signatory's Name: Steven Croskey
Signatory's Position: Managing Member
Signatory's Phone Number: 904-955-1977
Signature method: Sent to third party for signature
Payment Sale Number: 99005577
Payment Accounting Date: 01/17/2025

Serial Number: 99005577
Internet Transmission Date: Fri Jan 17 09:58:55 ET 2025
TEAS Stamp: USPTO/BAS-XXXX:XXX:X:XX::XX-202501170958
56238364-99005577-880fc81fea65ad7ad5d233
ef7b39475617dd38b9cf114c03710241c906d6b2
2ca4d-CC-58555285-20250116231414522184
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